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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
SCOTT CASTEEL, Case No.: 3:20-cv-00381-GMN-CLB
Plaintiff, ORDER RE: CONSENT FORM
Vv.

ROMEO ARANAS, et al.,

Defendants.

 

 

Attached to this order is a copy of AO 85, which is the consent to magistrate
jurisdiction form. At the case management conference, Plaintiff orally agreed to consent
to the magistrate judge’s jurisdiction. However, Plaintiff's consent must be in writing.
Therefore, the court provides this form to Plaintiff and that the form be delivered to him.
Plaintiff is then directed to fill out the form and to return it directly to the Clerk of Court for
the District of Nevada. This form may not be filed via electronic filing.

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’ fx .

CARLA BANDWIN
UNIKED STATES MAGISTRATE JUDGE

DATED: December 30, 2020.

     
  

 

 

 

 
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AO 85 (Rev, 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge

UNITED STATES DISTRICT COURT

 

 

for the
)
Plaintuff )
¥. ) Civil Action No.
)
Defendant )

NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry ofa final judgment, The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.

You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.

Consent to a magistrate judge’s authority, The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings,

Printed names of parties and attorneys Signatures of parties or attorneys Dates

 

 

 

Reference Order

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P, 73.

 

District Judge’s signature

 

Printed name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.

 
